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 5   Attorneys for the
     United States of America
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 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               )   CASE NO.
                                             )   1:11-MJ-00087 (002) BAM
12                   Plaintiff,              )
                                             )
13   v.                                      )
                                             )   MOTION AND ORDER FOR DISMISSAL
14   THAI SEE,                               )
                                             )
15                   Defendant.              )
                                             )
16                                           )
17        The United States of America, by and through Benjamin B. Wagner,
18   United States Attorney, and Wallace J. Lee, Special Assistant United
19   States Attorney, hereby moves to dismiss without prejudice the
20   information filed on May 2, 2011, against Thai See, in the interest
21   of justice, pursuant to Rule 48(a) of the Federal Rules of Criminal
22   Procedure.
23
24   Dated: July 18, 2012                    BENJAMIN B. WAGNER
                                             United States Attorney
25
26
                                      By :    /s/ Wallace J. Lee
27                                           WALLACE J. LEE
                                             Special Assistant U.S. Attorney
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                                         1               MOTION AND ORDER FOR DISMISSAL
            Case 1:11-mj-00087 Document 42 Filed 07/19/12 Page 2 of 2


 1
 2                                    O R D E R
 3        IT IS HEREBY ORDERED that the information filed on May 2, 2011,
 4   against Thai See, be dismissed without prejudice in the interest of
 5   justice.
 6         IT IS SO ORDERED.
 7       Dated:   July 18, 2012               /s/ Barbara A. McAuliffe
       10c20k                                 UNITED STATES MAGISTRATE JUDGE
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                                         2               MOTION AND ORDER FOR DISMISSAL
